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lN THE UNlTED sTATES I)ISTRICT CoURT F"'E° BY -LL--- D"
FoR THE wEsTERN DISTRICT oF TENNESSEE _
wESTERN DIVIsIoN 05 JUL 7 PH 3- 147
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W/D LCI:W; i;‘¢`,:'," unir-

LUTRICIA BARNETT BUCKLEY, as
Adrninistratrix of the Estate of DENVEY
BUCKLEY, for the use and benefit of
KATRINA LATRlCE BUCKLEY and
NICOLE MARIA BUCKLEY, as NeXt of Kin
and Heirs at law of DENVEY BUCKLEY,
deceased,

Plaintiffs, No, 03-2874-DP
MAGISTRATE ]UDGE TU Pl-IAl\/l
v.

CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DlVISION, OFFICER
PHILLIP PENNY, OFFICER KURTIS
SCHILK, OFFICER ROBERT G.
TEBBETTS, individually and in their
Representative Capacities as City of Memphis
Police Division Officers.

\_/H_/\./\_/\_/\_/\_/\-/\,/\_/\_/\_/H_/\_/\./`/\_f\_/\J\_/V

Defendant.

 

ORDER TO SHOW CAUSE

 

On the basis of the Affidavit of Thornas L. Parl<er, Esquire, sworn to on June 16, 2005,
and on the exhibits attached to and incorporated by reference in that affidavit, from which
aflidavit and exhibits it appears that Khary Earnest failed to appear for his deposition on
Decernber 15, 2004, at 165 Madison Ave., 20th floor, l\/lernphis, TN in the City of Mernpliis,
Shelby County, Tennessee, although he was served on Decernber 7, 2004, With a subpoena to
appear for that deposition and had actual knowledge of it; noW, therefore,

IT IS ORDERED that Khary Earnest show cause before this court on ul g

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2005 at 7- .'O 0 _ aaa-@ or as soon afterwards as the matter may be heard, at the Clifford

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with Fluie 58 and/or 79{&) FHCP on _/[ [,O // 77
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Davis F ederal Building at 167 North Main Street, City of l\/Iemphis, Shelby County, Tennessee,
why he should not be punished for civil contempt of court for his failure to appear as described
above, in that it appears that the rights and remedies of Lutricia Buckley, plaintiff in the action
mentioned in the affidavit described above, were impaired.

It is further ordered that Khary Earnest show cause why Lutricia Buckley, plaintiff,
should not have any other remedial relief that the court may deem necessary including possible
confinement until he complies with the above-mentioned subpoenal

Sufticient cause appearing from the affidavit on which this order is granted, service of

this order and the attached affidavit on Khary Earnest on or before Tu\% \Li , 2005, shall

be deemed sufficient

DoNE AND oRDERED this l day ar "*t] diaz ,2005.

Muu

THE HoNoRABLE J. TU PHAM
UNITED sTArEs MAGISTRATE JUDGE

DITRICT oURT - wEsTRNE DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 177 in
case 2:03-CV-02874 was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

